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 6

 7                                   UNITED STATES BANKRUPTCY COURT

 8                                    CENTRAL DISTRICT OF CALIFORNIA

 9                                          SANTA ANA DIVISION

10

11    In re                                          Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                                 Adv. 8:19-ap-01195-TA

13            Debtor                                 Before the Honorable Theodor Albert
      _________________________________
14                                                   Chapter 7
      REBECCA JOAN JOSEPH,
15    JONATHAN JOSEPH, STEVEN                        LIMITED SUPPLEMENTAL BRIEF RE:
      KRAMER, AND JASON                              CANNABIS IN FURTHERANCE OF MOTION
16    JOSEPH,                                        TO DISMISS COMPLAINT TO DETERMINE
                                                     DISCHARGEABILITY OF DEBT [11 U.S.C. §
17                       Plaintiff                   523(a)(2)(A) and (a)(4)]

18    vs.
                                                     Date: 3-5-2020
19    GUY GRIFFITHE                                  Time: 11:00 am
                                                     Courtroom: 5B
20                      Defendant                    Place: 411 West Fourth Street, Santa Ana CA

21

22             Defendant Guy Griffithe (“Defendant”) hereby files a limited supplemental brief re: Cannabis

23   in furtherance of the Motion to Dismiss Motion to Dismiss Complaint to Determine Dischargeability

24   of Debt [11 U.S.C. § 523(a)(2)(A) and (a)(4)(“Motion”).

25             At the 1-16-2020 hearing on the Motion, this Court issued the following Scheduling Order:

26   (1) Defendant’s Supplemental Brief to Motion to Dismiss re Cannabis Due 2-20-2020; (2) Plaintiff’s

27   Supplemental Brief to Motion to Dismiss re Cannabis Due 3-2-2020; (3) Defendant’s Supplemental

28   Brief to Motion to Dismiss re Cannabis Due 3-8-2020.

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 1             First, on 2-13-2020, Defendant’s counsel Baruch Cohen filed a Motion to Withdraw as

 2   Counsel of Record for Defendant Guy Griffithe [Doc-30], and filed an Application shortening time

 3   re Motion To Withdraw As Counsel Of Record For Defendant Guy Griffithe [Doc-32]. On 2-18-2020,

 4   this Court granted Defendant’s Order Granting Application and Setting Hearing on Shortened Notice,

 5   Re: Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe, scheduling the hearing

 6   on the Motion on 2-27-2020 at 11:00am. Cohen is awaiting the Court’s Order Granting the Motion.

 7   Accordingly, Defendant requests that this Court should consider rescheduling the hearing on this

 8   Motion so that Defendant can retain new counsel to brief it more comprehensively.

 9             Second, the Supplemental Briefing was to address is whether the bankruptcy court has subject
10   matter jurisdiction in an adversary proceeding where the Plaintiffs seek to have Defendant/Debtor’s
11   debts, incurred through alleged malfeasance, adjudicated as nondischargeable despite the underlying
12   cannabis business venture being simultaneously legal under state law and illegal under federal law?
13             Admittedly, there is a dearth of case law on this subject, making briefing it, all the more
14   challenging.
15   As the Court noted:
16             “...the only case cited by Defendant that comes close to addressing this precise issue
               is Northbay Wellness Group v. Beyries, 789 F.3d 956 (9th Cir. 2015). There, an
17             attorney stole money from his client, a legal medical marijuana dispensary, and
               subsequently filed a Chapter 7 bankruptcy. Id. at 958 The dispensary instituted an
18             adversary proceeding seeking to except its claim from discharge, but the bankruptcy
               court dismissed the adversary complaint under the "unclean hands" doctrine. Id. at 959
19             The Ninth Circuit reversed and remanded, explaining that the bankruptcy court failed
               to balance the parties’ respective wrongdoings as required under that doctrine:
20
                      "The Supreme Court has emphasized, however, that the doctrine of
21                    unclean hands ‘does not mean that courts must always permit a
                      defendant wrongdoer to retain the profits of his wrongdoing merely
22                    because the plaintiff himself is possibly guilty of transgressing the
                      law.’ [Johnson v.] Yellow Cab [Transit Co.], 321 U.S. [383, 387, 64
23                    S. Ct. 622, 88 L. Ed. 814 (1944)]. Rather, determining whether the
                      doctrine of unclean hands precludes relief requires balancing the
24                    alleged wrongdoing of the plaintiff against that of the defendant, and
                      ‘weigh[ing] the substance of the right asserted by [the] plaintiff against
25                    the transgression which, it is contended, serves to foreclose that right.’
                      Republic Molding Corp. v. B.W. Photo Utils., 319 F.2d 347, 350 (9th
26                    Cir. 1963). In addition, the ‘clean hands doctrine should not be strictly
                      enforced when to do so would frustrate a substantial public interest.’
27                    EEOC v. Recruit U.S.A., Inc., 939 F.2d 746, 753 (9th Cir. 1991)." Id.
                      at 960. The Ninth Circuit in Northbay did not analyze the issue of
28

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 1                    whether the bankruptcy court had subject matter jurisdiction over the
                      exception to discharge action.”
 2
               Defendant posits as follows: the cases cited in Defendant’s Reply asked the Bankruptcy Court
 3
     to actively do something (ie., confirm a plan, administer assets, etc): In Arenas, 514 B.R. 887 (Bankr.
 4
     D. Colo. 2014), the U.S. Bankruptcy Court for the District of Colorado dismissed a bankruptcy case
 5
     in which the Chapter 7 trustee would be required to administer marijuana-related assets; & In
 6
     Rent-Rite Super Kegs West Ltd., 484 B.R. 799 (Bankr. D. Colo. 2012), the U.S. Bankruptcy Court
 7
     for the District of Colorado considered a motion to dismiss a Chapter 11 case in which the debtor
 8
     derived 25% of its revenue from leasing warehouse space to marijuana businesses.
 9
               Had the Plaintiff not filed this adversary action, the Debtor would have sailed through this
10
     bankruptcy, and the Bankruptcy Clerk would have automatically issued the Debtor’s discharge, carte-
11
     blanche. Certainly, since the Chapter 7 Trustee deemed this a no asset case and abandoned interests
12
     in the estate [Doc-33], the Debtor would have slipped under Plaintiff’s radar, and no Complaint was
13
     filed, he would have received his discharge, and the Bankruptcy Court would not have had to do
14
     anything. In theory, there would not have been a violation of the Controlled Substances Act of 1970
15
     and several cases prohibiting the intersection of cannabis and bankruptcy, because no affirmative
16
     action by this Court would have been taken. So from the Debtor’s perspective, his Chapter 7 case
17
     would not be effected by the Controlled Substances Act of 1970.
18
               But because this Plaintiff took action and challenged the dischargeability of his claims under
19
     11 U.S.C. § 523(a)(2)(A) and (a)(4), this Court is now being asked to take action - to determine the
20
     nondischargeability of said claim, thereby triggering the Controlled Substances Act of 1970.
21
               While this might seem like hair-splitting, Defendant believes that it’s truly a distinction worth
22
     noting.
23
               Returning to the Northbay Wellness Group v. Beyries (In re Beyries), the Defendant maintains
24
     that the trial court was on point in ruling that it could not enter a nondischargeability judgment for
25
     plaintiff (who transacted in medical marijuana) because they engaged in unlawful activity. Even
26
     though the activity was legal under state law, in a federal court the parties were “conspiring to sell
27
     contraband.” The court found the plaintiff in pari delicto and dismissed the 11 U.S.C. § 523(a)(4)
28

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 1   adversary under the "unclean hands" doctrine. The subsequent reversal and remand by the appellate

 2   court because the bankruptcy court failed to sufficiently balance the parties’ respective wrongdoings

 3   does not undo the trial court’s correct analysis regarding the dischargeability of a marijuana-related

 4   transaction.

 5             Judge Alan Jaroslovsky, the bankruptcy trial court in Northbay (# 10-01181)[Doc-20] ruled:
 6             “A federal court should not lend its judicial power to a plaintiff who seeks to invoke
               it that power for the purpose of consummating a transaction in clear violation of law.
 7             Johnson v. Yellow Cab Co., 321 U.S. 383, 387 (1943). The unclean hands doctrine
               closes the doors of a court to one who is tainted relative to the matter in which he
 8             seeks relief, however improper may have been the behavior of the defendant.
               E.E.O.C. v Recruit U.S.A., Inc., 939 F.2d 746, 752 (9th Cir. 1991). A plaintiff with
 9             unclean hands is not entitled to a judgement of nondischargeability from a bankruptcy
               court. In re Uwimana, 274 F.3d 806, 810 (4th Cir. 2001); In re Bromley, 126 B.R.
10             220, 223 (Bkrtcy.D.Md.1991).” [Emphasis added]
11             The finding of unclean hands is not one which the court makes lightly or
               automatically. It is very unseemly for the court to be asked to grant relief to a plaintiff
12             which claims it lost its cash from illegal drug sales by shoving it into envelopes and
               then delivering it to its attorney, uncounted and undocumented. This is hardly the
13             behavior of a legitimate business. While the conduct of the parties may have been
               legal under state law, in the eyes of a federal court they were conspiring to sell
14             contraband. They were in pari delicto, and the funds plaintiffs gave to Beyries were
               the actual proceeds of illegal drug sales. This is not the sort of case which is supposed
15             to darken the doors of a federal court. See Adler v. Federal Republic of Nigeria, 219
               F.3d 869, 882 (9th Cir. 2000)(Noonan,Circuit Judge, dissenting)
16
               This Court focused on Defendant’s involvement in cannabis-related transactions:
17
               The court is also concerned that if, as Debtor argues, the court lacks subject matter
18             jurisdiction over the dischargeability issue, then Debtor is effectively able to hide
               behind the bankruptcy process and frustrate the creditors he may have defrauded.
19             Worse still, it is at least conceivable that Debtor could even get his debts discharged
               despite his own purported wrongful conduct creating those debts. On its face, this
20             result seems to offend the fundamental notions of equity that the bankruptcy court is
               charged with upholding.
21

22             Defendant maintains that while the Court acknowledged the “underlying illicit activity of both

23   Plaintiffs and Debtor” the Court’s primary focus on Defendant’s (alleged, but unproven)

24   wrongdoings, misses the point. Rather, the Court should shift and narrow its focus to Plaintiff’s

25   unclean hands, as he acted in pari delicto with Defendant, since he is the one who invested in the

26   cannabis transactions and is “tainted relative to the matter in which he seeks relief, however improper

27   may have been the behavior of the Defendant.” As Judge Jaroslovsky correctly ruled: “the court

28   cannot enter a judgment for Plaintiff because he was engaged in unlawful activity. While the sale of


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 1   marijuana may be legal under state law, it is a serious federal crime which cannot be legalized by a

 2   state. Gonzales v. Raich, 545 U.S. 1, 29 (2005).” Accordingly, this Court should “close the doors”

 3   to Plaintiff’s nonndischargeability complaint, based on Plaintiff’s unclean hands.

 4             In E.E.O.C. v Recruit U.S.A., Inc., 939 F.2d 746, 752 (9th Cir. 1991), the court ruled that the
 5   clean hands doctrine should not be strictly enforced when to do so would frustrate a substantial public
 6   interest. In such cases, equity's lodestar that "justice be done" prevails. The Supreme Court has
 7   instructed that the clean hands doctrine:
 8             does not mean that courts must always permit a defendant wrongdoer to retain the
               profits of his wrongdoing merely because the plaintiff himself is possibly guilty of
 9             transgressing the law in the transactions involved. The maxim that he who comes into
               equity must come with clean hands is not applied by way of punishment for an
10             unclean litigant but upon considerations that make for the advancement of right and
               justice.... It is not a rigid formula which trammels the free and just exercise of
11             discretion.
12             Yellow Cab, 321 U.S. at 387, 64 S.Ct. at 624 (quoting Keystone Driller Co. v. General
               Excavator Co., 290 U.S. 240, 245-46, 54 S.Ct. 146, 147-48, 78 L.Ed. 293 (1933))
13             (citation and footnote omitted); see also Bangor Punta Operations, Inc. v. Bangor &
               Aroostook R.R. Co., 417 U.S. 703, 717 n. 14, 94 S.Ct. 2578, 2586 n. 14, 41 L.Ed.2d
14             418 (1974) ("It is not the function of courts of equity to administer punishment.... If
               a wrong-doer deserves to be punished, it does not follow that others are to be
15             enriched at his expense by a court of equity. A [party] must recover on the strength
               of his own case, not on the weakness of the [opponent's] case.").
16
               Accordingly, Defendant respectfully requests that the Court enter an order granting the Motion
17
     in its entirety, and providing for such other and further relief as this Court deems just.
18

19

20   DATED:           February 20, 2020              LAW OFFICE OF BARUCH C. COHEN
                                                     A Professional Law Corporation
21

22                                                   By     /S/ Baruch C. Cohen
                                                     Baruch C. Cohen, Esq.
23                                                   Attorney For Defendant Guy Griffithe

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: LIMITED SUPPLEMENTAL BRIEF RE: CANNABIS IN
FURTHERANCE OF MOTION TO DISMISS COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT [11 U.S.C.
§ 523(a)(2)(A) and (a)(4)] will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
2/20/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Jamie E Wrage (PL)                       jamie.wrage@streamkim.com, kimberly.trease@streamkim.com
Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/20/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/20/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/20/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
